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 Matthew R. Lewis (7919)
 Taylor J. Smith (17537)
 KUNZLER BEAN & ADAMSON, PC
 50 W. Broadway, 10th Floor
 Salt Lake City, Utah 84101
 Telephone: (801) 994-4646
 mlewis@kba.law
 tsmith@kba.law

 Jason P. Gottlieb (admitted pro hac vice)
 David E. Ross (admitted pro hac vice)
 Alexander R. Yarm (admitted pro hac vice)
 MORRISON COHEN LLP
 909 Third Avenue, 27th Floor
 New York, New York 10022
 Telephone: (212) 735-8600
 jgottlieb@morrisoncohen.com
 dross@morrisoncohen.com
 ayarm@morrisoncohen.com

 Attorneys for Defendants Digital Licensing Inc., Jason R. Anderson, Jacob S. Anderson, Schad
 E. Brannon, Roydon B. Nelson, and Relief Defendants Business Funding Solutions, LLC, Blox
 Lending, LLC, The Gold Collective LLC, and UIU Holdings, LLC


                                    IN THE UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF UTAH

    SECURITIES AND EXCHANGE
                                                        DEFENDANTS DIGITAL LICENSING
    COMMISSION,                                        INC., JASON R. ANDERSON, JACOB S.
                                                         ANDERSON, SCHAD E. BRANNON,
                           Plaintiff,                     AND ROYDON B. NELSON AND
                                                         RELIEF DEFENDANTS BUSINESS
    v.
                                                        FUNDING SOLUTIONS, LLC, BLOX
    DIGITAL LICENSING INC. (d/b/a “DEBT                     LENDING, LLC, THE GOLD
    Box”), a Wyoming corporation; JASON R.                 COLLECTIVE LLC, AND UIU
    ANDERSON, an individual; JACOB S.                   HOLDINGS, LLC’S STATUS REPORT
    ANDERSON, an individual; SCHAD E.                    REGARDING TRANSITION, WIND
    BRANNON, an individual; ROYDON B.                   DOWN, AND CONCLUSION OF THE
    NELSON, an individual; JAMES E.                              RECEIVERSHIP
    FRANKLIN, an individual; WESTERN OIL
    EXPLORATION COMPANY, INC., a Nevada                      Case No. 2:23-cv-00482-RJS
    corporation; RYAN BOWEN, an individual; IX               Chief Judge Robert J. Shelby
    GLOBAL, LLC, a Utah limited liability
    company; JOSEPH A. MARTINEZ, an
    individual; BENAJMIN F. DANIELS, an

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    individual; MARK W. SCHULER, an
    individual; B & B INVESTMENT GROUP,
    LLC (d/b/a “CORE 1 CRYPTO”), a Utah
    limited liability company; TRAVIS A.
    FLAHERTY, an individual; ALTON O.
    PARKER, an individual; BW HOLDINGS,
    LLC (d/b/a the “FAIR PROJECT”), a Utah
    limited liability company; BRENDAN J.
    STANGIS, an individual; and MATTHEW D.
    FRITZSCHE, an individual;

             Defendants,

    ARCHER DRILLING, LLC, a Wyoming
    limited liability company; BUSINESS
    FUNDING SOLUTIONS, LLC, a Utah limited
    liability company; BLOX LENDING, LLC, a
    Utah limited liability company; CALMFRITZ
    HOLDINGS, LLC, a Utah limited liability
    company; CALMES & CO, INC., a Utah
    corporation; FLAHERTY ENTERPRISES,
    LLC, an Arizona limited liability company; IX
    VENTURES FZCO, a United Arab Emirates
    company; PURDY OIL, LLC, a Nebraska
    limited liability company; THE GOLD
    COLLECTIVE LLC, a Utah limited liability
    company; and UIU HOLDINGS, LLC, a
    Delaware limited liability company,

             Relief Defendants.




           Defendants Digital Licensing Inc. (“DLI”), Jason R. Anderson, Jacob S. Anderson, Schad

 E. Brannon, and Roydon B. Nelson and Relief Defendants Business Funding Solutions, LLC,

 Blox Lending, LLC, The Gold Collective LLC, and UIU Holdings, LLC (“Morrison Cohen

 Parties”), by and through their counsel, Morrison Cohen LLP (“Morrison Cohen”), file this

 Status Report Regarding Transition, Wind Down, and Conclusion of the Receivership (“Report”)

 summarizing actions undertaken since the Court’s October 6, 2023 Order dissolving the




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 Temporary Restraining Order (“TRO”) and, consequently, determining that the Receivership

 should not continue (“October 6 Order”) [ECF No. 187].

           Immediately after the Court issued the October 6 Order, the Morrison Cohen Parties and

 the Receiver discussed the Receiver transitioning control over DLI and providing information to

 the Morrison Cohen Parties during the transition period.

           In accordance with the October 6 Order, Morrison Cohen met and conferred with other

 defense counsel and, on October 12, delivered a proposed Transition Plan to the Receiver and

 invited the Receiver to review, comment, and meet and confer (ECF Doc No. 198, Exhibits A-

 B).

           The Receiver responded to the Morrison Cohen Parties in the early evening on October

 13, providing a revised proposed Transition Plan and advising that the Receiver was available to

 meet and confer during the morning on Saturday, October 14 (ECF Doc No. 198, Exhibit C). The

 meet and confer times proposed by the Receiver did not give the Morrison Cohen Parties enough

 time to evaluate the revised proposed Transition Plan delivered by the Receiver the night before.

           On October 16, at the request of the Morrison Cohen Parties, the Morrison Cohen Parties

 and the Receiver met and conferred concerning the Receiver’s revised proposed Transition Plan.

 While some progress was made towards a joint Transition Plan, the Morrison Cohen Parties

 continue to review certain unresolved issues and expect to provide the Receiver with further

 comments on the proposed Transition Plan by October 18 and request another meet and confer.

           The Morrison Cohen Parties will continue to comply with the October 6 Order and will

 keep the Court apprised of all developments with respect to the proposed Transition Plan.




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                                    Respectfully submitted,

                                    KUNZLER BEAN & ADAMSON, PC
                                    Matthew R. Lewis
                                    Taylor J. Smith


                                    MORRISON COHEN LLP

                                    /s/ David E. Ross
                                    Jason P. Gottlieb (admitted pro hac vice)
                                    David E. Ross (admitted pro hac vice)
                                    Jeffrey D. Brooks (admitted pro hac vice)

                                    Alexander R. Yarm (admitted pro hac vice)

                                    Attorneys for Defendants Digital Licensing Inc.,
                                    Jason R. Anderson, Jacob S. Anderson, Schad E.
                                    Brannon, Roydon B. Nelson, and Relief Defendants
                                    Business Funding Solutions, LLC; Blox Lending,
                                    LLC; The Gold Collective LLC; and UIU Holdings,
                                    LLC




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